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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISON
ANTONIO HALL, SR.,

    Plaintiff,
-vs-
                                                  CASE NO.: 3:18-cv-01372-HES-JRK
WELLS FARGO BANK, N.A.,

    Defendant.
                                      /


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Antonio Hall, Sr., and the Defendant, Wells Fargo Bank,

N.A., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice,

each claim and count therein asserted by Plaintiff against the Defendant in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

        Respectfully submitted this 10th day of July, 2019.



/s/ Shaughn C. Hill                               /s/ Artin Betpera
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